Case 2:03-CV-02874-BBD-tmp Document 183 Filed 08/05/05 Page 1 of 4 Page|D 193

IN THE UNITED STATES DISTRICT coURT Fli.ED ev)¢é'_ D.C.
FOR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 AUG -5 PH h: 32

n+ow,s .+-,¢. mo
CLEWK, u,s_, .rz§zrr::fcr covm
wm 0; f zz.a.;-;.@HLS

 

LU'I`RICIA BAR_NET'I' BUCKLEY, as
Administratrix of the Estate
of DENVEY BUCKLEY, for the use
and benefit of KATRINA and
LATRICE BUCKLEY, as NeXt Of
Kin and Heirs at law of DENVEY
BUCKLEY, deceased

Plaintiff,

V. NO. 03-2874 DP
CITY OF MEMPHIS, THE CITY OF
MEMPHIS POLICE DIVISION,
OFFICER PHILLIP PENNY, OFFICER
KURTIS SCHILK, and OFFICER
ROBERT T. TEBBETTS,
individually and in their
Representative Capacitiee as
City of Memphie Police
Division Officers,

`_¢VV`JVVVVVVV~_/WVVV`_/VV~_/VVVV

Defendants.

 

ORDER GRANTING DEFENDANTS' MOTION FOR PROTECTIVE
ORDER TO REQUEST FOR ADMISSIONS

 

Before the court is Defendants Phillip Penny, Kurtis Schilk,
and Robert G. Tebbetts'S Motion for Protective Order to Request for
Admissions, filed on May 24, 2005 (dkt #148). Plaintiff has not
filed a response to the motion. For the following reasons, the

Defendants' motion is GRANTED.

tin compliance
This document entered on the docket shea 15

w\th Fluie 56 and/or 79{a) FF\CP on

 

Case 2:03-CV-02874-BBD-tmp Document 183 Filed 08/05/05 Page 2 of 4 Page|D 194

I. BACKGROUND

Plaintiff Lutricia Barnett Buckley (“Plaintiff”) is the ex-
wife and custodial parent of Katrina Buckley and Nicole Buckley,
minors, the natural children and alleged sole heirs at law of the
decedent, Denvey Buckley (“Buckley”). Plaintiff alleges that the
defendant Memphis Police Department (“MPD”) officers, including
Officer Kurtis Schilk, used excessive force while seizing Buckley
in an altercation that resulted in his death. She also alleges
that the City has a policy or practice of failing to supervise,
discipline, and train its police officers, which violated Buckley's
constitutional rights.

On May 10, 2005, Defendants received Plaintiff's Request for
Admissions, which included the following two requests:

Reguest No. l: Lt. Raymond Hopkins was identified by the

City of Memphis as the witness who could authenticate the

Inspectional Services Bureau Report regarding the Denvey

Buckley incident.

Reguest No. 2: During his deposition of January 10, 2005,

Lt. Raymond Hopkins authenticated the Inspectional

Services Bureau Report regarding the Denvey Buckley

incident of April 19, 2003 that was marked Collective

Exhibit 101 (A-c).
Defendants argue that the requests are not the type of
requests contemplated under Rule 36 and are not discoverable
under Rule 26 because they' are duplicative of discovery
already taken and not relevant.

II. ANALYSIS

Local Rule 7.2(a)(2) requires that “The response to the

-2_

Case 2:03-CV-02874-BBD-tmp Document 183 Filed 08/05/05 Page 3 of 4 Page|D 195

motion and its supporting memorandum . . . shall be filed
within fifteen days after service of the motion and shall be
accompanied by a proposed order. Failure to respond timely to
any motion, other than one requesting dismissal of a claim or
action, may be deemed good grounds for granting the motion.”
The response to Defendant's motion should have been filed by
June ll, 2005. Because Plaintiff has not responded to this
motion, the court GRANTS the motion on those grounds.
III. CONCLUSION

For the reasons above, Defendants' Motion for Protective

Order to Request for Admissions is GRANTED.

IT IS SO ORDERED.

¢¢_'"_'-___'_

tot

TU M. PHAM
United States Magistrate Judge

 

Aog!,-.=._D' 3" 'M<S$/

Date

DITRICT OURT - WESTER DISRICTOF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 183 in
ease 2:03-CV-02874 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Buekner Wellford

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Robert D. Meyers

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

l\/lemphis7 TN 38125

Jean Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

l\/lemphis7 TN 38103

Amber Isom-Thompson

KIESEWETTER WISE KAPLAN SCHWIMMER & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

l\/lemphis7 TN 38125

Thomas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
l\/lemphis7 TN 38122--372

Honorable Berniee Donald
US DISTRICT COURT

